Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 1 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 2 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 3 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 4 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 5 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 6 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 7 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 8 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 9 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 10 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 11 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 12 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 13 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 14 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 15 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 16 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 17 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 18 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 19 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 20 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 21 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 22 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 23 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 24 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 25 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 26 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 27 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 28 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 29 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 30 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 31 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 32 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 33 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 34 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 35 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 36 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 37 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 38 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 39 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 40 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 41 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 42 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 43 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 44 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 45 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 46 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 47 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 48 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 49 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 50 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 51 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 52 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 53 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 54 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 55 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 56 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 57 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 58 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 59 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 60 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 61 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 62 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 63 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 64 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 65 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 66 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 67 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 68 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 69 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 70 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 71 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 72 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 73 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 74 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 75 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 76 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 77 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 78 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 79 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 80 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 81 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 82 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 83 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 84 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 85 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 86 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 87 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 88 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 89 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 90 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 91 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 92 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 93 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 94 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 95 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 96 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 97 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 98 of 100
Case 2:20-bk-17525-NB   Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 99 of 100
Case 2:20-bk-17525-NB    Doc 60 Filed 01/11/21 Entered 01/14/21 11:29:39   Desc
                        Main Document    Page 100 of 100
